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   9
 10                  IN THE UNITED STATES DISTRICT COURT
 11              FOR THE SOUTHERN DISTRICT OF CALIFORNIA
 12
 13
       FISHER & PAYKEL                    )   Case No. '16CV2068 GPC WVG
 14    HEALTHCARE LIMITED, a New          )
       Zealand corporation                )
 15                                       )   COMPLAINT FOR PATENT
                                          )   INFRINGEMENT
 16               Plaintiff,              )
                                          )   DEMAND FOR JURY TRIAL
 17         v.                            )
                                          )
 18    RESMED CORP., a Minnesota          )
       corporation,                       )
 19                                       )
                  Defendant.              )
 20                                       )
 21
 22
 23
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 25
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                                                                 COMPLAINT
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   1         Plaintiff Fisher & Paykel Healthcare Limited (“Plaintiff” or “Fisher &
   2   Paykel     Healthcare”)   hereby   complains    of   Defendant   ResMed      Corp.
   3   (“Defendant” or “ResMed”) and alleges as follows:
   4                                  I. THE PARTIES
   5         1.      Plaintiff Fisher & Paykel Healthcare Limited is a New Zealand
   6   corporation having a principal place of business at 15 Maurice Paykel Place,
   7   East Tamaki, Auckland 2013, PO Box 14 348, Panmure, Auckland, New
   8   Zealand.
   9         2.      Upon information and belief, Defendant ResMed Corp. is a
 10    corporation organized under the laws of the state of Minnesota with its principal
 11    place of business in this district at 9001 Spectrum Center Boulevard, San Diego,
 12    California.
 13                           II. JURISDICTION AND VENUE
 14          3.      Fisher & Paykel Healthcare repeats, realleges, and incorporates by
 15    reference the allegations set forth in Paragraphs 1-2 of this Complaint.
 16          4.      Fisher & Paykel Healthcare Inc. is a California corporation having
 17    a principal place of business in Irvine, CA.
 18          5.      With the authorization of Fisher & Paykel Healthcare Limited,
 19    Fisher & Paykel Healthcare Inc. sells in the United States products covered by
 20    one or more of the patents asserted herein.
 21          6.      This is a civil action for patent infringement arising under the
 22    patent laws of the United States, 35 U.S.C. §§ 100, et seq., more particularly, 35
 23    U.S.C. §§ 271 and 281.
 24          7.      This Court has subject matter jurisdiction pursuant to 28 U.S.C.
 25    §§ 1331 and 1338(a).
 26          8.      ResMed resides in California and is subject to personal jurisdiction
 27    in California, and has committed the acts complained of in this Judicial District.
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   1         9.     Venue is proper in this Judicial District pursuant to 28 U.S.C.
   2   §§ 1391(b), (c), and 1400(b).
   3                            III. THE PATENTS-IN-SUIT
   4         10.    Fisher & Paykel Healthcare Limited is the owner by assignment of
   5   U.S. Patent 8,443,807 entitled “Breathing Assistance Apparatus” (“the ’807
   6   patent”), which the United States Patent and Trademark Office lawfully and
   7   duly issued on May 21, 2013. A true and correct copy of the ’807 patent is
   8   attached hereto as Exhibit 1.
   9         11.    Fisher & Paykel Healthcare Limited is the owner by assignment of
 10    U.S. Patent 8,479,741 entitled “Breathing Assistance Apparatus” (“the ’741
 11    patent”), which the United States Patent and Trademark Office lawfully and
 12    duly issued on July 9, 2013. A true and correct copy of the ’741 patent is
 13    attached hereto as Exhibit 2.
 14          12.    Fisher & Paykel Healthcare Limited is the owner by assignment of
 15    U.S. Patent 8,186,345 entitled “Apparatus for Supplying Gases to a Patient”
 16    (“the ’345 patent”), which the United States Patent and Trademark Office
 17    lawfully and duly issued on May 29, 2012. A true and correct copy of the ’345
 18    patent is attached hereto as Exhibit 3.
 19          13.    Fisher & Paykel Healthcare Limited is the owner by assignment of
 20    U.S. Patent 8,453,641 entitled “Apparatus For Measuring Properties of Gases
 21    Supplied to a Patient” (“the ’641 patent”), which the United States Patent and
 22    Trademark Office lawfully and duly issued on June 4, 2013. A true and correct
 23    copy of the ’641 patent is attached hereto as Exhibit 4.
 24          14.    Fisher & Paykel Healthcare Limited is the owner by assignment of
 25    U.S. Patent 9,265,902 entitled “Apparatus For Measuring Properties of Gases
 26    Supplied to a Patient” (“the ’902 patent”), which the United States Patent and
 27    Trademark Office lawfully and duly issued on February 23, 2016. A true and
 28    correct copy of the ’902 patent is attached hereto as Exhibit 5.
                                             -2-                          COMPLAINT
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   1         15.    Fisher & Paykel Healthcare Limited is the owner by assignment of
   2   U.S. Patent 8,550,072 entitled “Apparatus for Delivering Humidified Gases”
   3   (“the ’072 patent”), which the United States Patent and Trademark Office
   4   lawfully and duly issued on October 8, 2013. A true and correct copy of the
   5   ’072 patent is attached hereto as Exhibit 6.
   6         16.    Fisher & Paykel Healthcare Limited is the owner by assignment of
   7   U.S. Patent 8,091,547 entitled “Apparatus for Delivering Humidified Gases”
   8   (“the ’547 patent”), which the United States Patent and Trademark Office
   9   lawfully and duly issued on January 10, 2012. A true and correct copy of the
 10    ’547 patent is attached hereto as Exhibit 7.
 11          17.    Fisher & Paykel Healthcare Limited is the owner by assignment of
 12    U.S. Patent 7,111,624 entitled “Apparatus for Delivering Humidified Gases”
 13    (“the ’624 patent”), which the United States Patent and Trademark Office
 14    lawfully and duly issued on September 26, 2006. A true and correct copy of the
 15    ’624 patent is attached hereto as Exhibit 8.
 16          18.    Fisher & Paykel Healthcare Limited is the owner by assignment of
 17    U.S. Patent 6,398,197 entitled “Water Chamber” (“the ’197 patent”), which the
 18    United States Patent and Trademark Office lawfully and duly issued on June 4,
 19    2002. A true and correct copy of the ’197 patent is attached hereto as Exhibit 9.
 20                          IV. DEFENDANTS’ ACTIVITIES
 21          19.    Upon information and belief, ResMed has made, used, offered to
 22    sell, and/or sold within the United States, and/or has imported into the United
 23    States, products including at least Continuous Positive Airway Pressure
 24    (“CPAP”) machines such as ResMed’s AirSense 10 Series, including, without
 25    limitation, ResMed AirSense 10 AutoSet, Airsense 10 AutoSet for Her,
 26    AirSense 10 CPAP, and AirSense 10 Elite (collectively, “S10 CPAP”).
 27          20.    Upon further information and belief, ResMed has made, used,
 28    offered to sell, and/or sold within the United States, and/or has imported into the
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   1   United States, products including at least the AirCurve 10 ASV, AirCurve 10 S,
   2   AirCurve 10 VAuto, and AirCurve 10 ST (collectively, “AirCurve 10”).
   3         21.    Upon further information and belief, ResMed has made, used,
   4   offered to sell, and/or sold within the United States, and/or has imported into the
   5   United States, ClimateLineAir heated air tubing for use with at least the S10
   6   CPAP products.
   7         22.    Upon further information and belief, ResMed has made, used,
   8   offered to sell, and/or sold within the United States, and/or has imported into the
   9   United States, nasal pillow masks, including the Swift FX and the Swift LT
 10    masks.
 11                   V. CLAIMS FOR PATENT INFRINGEMENT
 12                             FIRST CLAIM FOR RELIEF
 13                      (Infringement of U.S. Patent No. 8,443,807)
 14          23.    Fisher & Paykel Healthcare realleges and reincorporates the
 15    allegations set forth in paragraphs 1 through 22.
 16          24.    Upon information and belief, ResMed products, including at least
 17    the Swift FX products, infringe at least Claims 1, 2, 4, 6, 8, 17, 20, and 21 of the
 18    ’807 patent under at least 35 U.S.C. § 271(a), (b), and (c).
 19          25.    Upon information and belief, ResMed has directly infringed one or
 20    more claims of the ’807 patent through manufacture use, sale, offer for sale,
 21    and/or importation into the United States of masks, including the Swift FX
 22    masks.
 23          26.    For example, upon information and belief, the Swift FX mask
 24    includes all of the limitations of Claim 1 of the ‘807 patent. The Swift FX mask
 25    is a patient interface that includes a mask assembly with a mask body sized and
 26    shaped to leave the mouth of the user uncovered by the mask when in use. Two
 27    nasal pillows extend from the mask body, and in use these nasal pillows rest in a
 28    substantially sealed manner against the openings of the nasal cavity of the user.
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   1   There is a ring engaging the mask body, an elbow rotatably engaged with the
   2   ring comprising a plurality of vent holes, a tube or conduit extending from the
   3   elbow, and a headgear assembly having two side straps that pass down the
   4   cheeks to secure the mask body to a face of a user. The headgear assembly also
   5   includes a top strap with a buckle to facilitate length adjustment of the top strap
   6   and a back strap adjustably connected to at least the top strap or the two side
   7   straps. The two side straps are configured to connect and disconnect with the
   8   mask assembly while the elbow remains rotatably engaged with the ring and the
   9   ring remains engaged with the mask body. The mask assembly is configured to
 10    connect to the two side straps, and the top strap connects only with one or more
 11    of the side straps and the back strap.
 12          27.    ResMed is aware of the ’807 patent, at least in part through written
 13    communications from Fisher & Paykel Healthcare on or about February 27,
 14    2015 notifying ResMed of its infringement of this patent.
 15          28.    Upon information and belief, ResMed has actively induced others
 16    to infringe the ’807 patent by marketing and selling the above masks, knowing
 17    and intending that such masks would be used by customers and end users in a
 18    manner that infringes the ’807 patent.         To that end, ResMed provides
 19    instructions and teachings to its customers and end users that such masks be
 20    used to infringe the ’807 patent. ResMed’s acts constitute infringement of the
 21    ’807 patent in violation of 35 U.S.C. § 271(b).
 22          29.    Upon information and belief, ResMed actively induces health-care
 23    service providers and users to directly infringe the asserted claims of the ’807
 24    patent. By way of example only, upon information and belief, ResMed actively
 25    induces direct infringement of the ’807 patent by providing directions,
 26    demonstrations, guides, manuals, training for use, and/or other materials
 27    necessary for the use, refurbishing, and/or servicing of the Swift FX masks.
 28
                                                -5-                          COMPLAINT
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   1   Upon information and belief, ResMed knew or should have known that these
   2   activities would cause direct infringement.
   3            30.   Upon information and belief, ResMed’s acts constitute contributory
   4   infringement of the ‘807 patent in violation of 35 U.S.C. § 271(c). Upon
   5   information and belief, ResMed contributorily infringes because, among other
   6   things, ResMed offers to sell and/or sells within the United States, and/or
   7   imports into the United States, components of the Swift FX masks that
   8   constitute material parts of the invention of the asserted claims of the ’807
   9   patent, are not staple articles or commodities of commerce suitable for
 10    substantial non-infringing use, and are known by ResMed to be especially made
 11    or especially adapted for use in an infringement of the ’807 patent.
 12             31.   Upon information and belief, ResMed’s infringement of the ’807
 13    patent has been, and continues to be, willful, deliberate, and intentional by
 14    continuing its acts of infringement after becoming aware of the ’807 patent and
 15    its infringement thereof, thus acting in reckless disregard of Fisher & Paykel
 16    Healthcare’s patent rights.
 17             32.   As a consequence of ResMed’s infringement of the ’807 patent,
 18    Fisher & Paykel Healthcare has suffered and will continue to suffer irreparable
 19    harm and injury, including monetary damages in an amount to be determined at
 20    trial.
 21             33.   Upon information and belief, unless enjoined, ResMed, and/or
 22    others acting on behalf of ResMed, will continue their infringing acts, thereby
 23    causing additional irreparable injury to Fisher & Paykel Healthcare for which
 24    there is no adequate remedy at law.
 25                            SECOND CLAIM FOR RELIEF
 26                       (Infringement of U.S. Patent No. 8,479,741)
 27             34.   Fisher & Paykel Healthcare realleges and reincorporates the
 28    allegations set forth in paragraphs 1 through 33.
                                             -6-                              COMPLAINT
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   1         35.    Upon information and belief, ResMed products, including at least
   2   the Swift LT masks, infringe at least Claims 1-3, 16, 17, 34, and 35 of the ’741
   3   patent under 35 U.S.C. § 271(a), (b), or (c).
   4         36.    Upon information and belief, ResMed has directly infringed one or
   5   more claims of the ’741 patent through manufacture use, sale, offer for sale,
   6   and/or importation into the United States of the Swift LT masks.
   7         37.    For example, upon information and belief, the Swift LT mask
   8   includes all of the limitations of Claim 1 of the ’741 patent. The Swift LT mask
   9   is a patient interface that includes a mask body comprising a substantially
 10    flexible plastics material and having two nasal pillows angled toward one
 11    another. Each of the nasal pillows has a generally conical portion, a generally
 12    cylindrical portion, and an outlet opening. The mask body also includes an inlet
 13    opening that is spaced apart from the outlet openings on the nasal pillows and
 14    that is within a generally tubular portion of the mask body.
 15          38.    Upon information and belief, the Swift LT mask also includes a
 16    mask base having a plastics material that is less flexible than the plastics
 17    material of the mask body. The mask base has a housing with a through
 18    passage, and a proximal portion of the through passage is surrounded by a
 19    recess. The recess receives the generally tubular portion of the mask body that
 20    defines the mask body inlet opening. Two side arms are removably connected
 21    to the mask base, and each side arm is three-dimensionally molded and has a
 22    varying cross-sectional thickness.
 23          39.    Upon information and belief, the Swift LT mask includes headgear
 24    with two side straps of a composite foam material. Each side arm overlaps with
 25    and is secured to one of the side straps, and the side strap extends only partially
 26    along the side arm to which it is secured.
 27    ///
 28    ///
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   1         40.    ResMed is aware of the ’741 patent, at least in part through written
   2   communications from Fisher & Paykel Healthcare on or about February 27,
   3   2015 notifying ResMed of its infringement of this patent.
   4         41.    Upon information and belief, ResMed has actively induced others
   5   to infringe the ’741 patent.     ResMed’s acts constitute infringement of the
   6   ’741 patent in violation of 35 U.S.C. § 271(b).
   7         42.    Upon information and belief, ResMed actively induces health-care
   8   service providers and users to directly infringe the asserted claims of the ’741
   9   patent. By way of example only, upon information and belief, ResMed actively
 10    induces direct infringement of the ’741 patent by providing directions,
 11    demonstrations, guides, manuals, training for use, and/or other materials
 12    necessary for the use, refurbishing, and/or servicing of the Swift LT masks.
 13    Upon information and belief, ResMed knew or should have known that these
 14    activities would cause direct infringement.
 15          43.    Upon information and belief, ResMed’s acts constitute contributory
 16    infringement of the ’741 patent in violation of 35 U.S.C. § 271(c). Upon
 17    information and belief, ResMed contributorily infringes because, among other
 18    things, ResMed offers to sell and/or sells within the United States, and/or
 19    imports into the United States, components of the Swift LT masks that
 20    constitute material parts of the invention of the asserted claims of the ’741
 21    patent, are not staple articles or commodities of commerce suitable for
 22    substantial non-infringing use, and are known by ResMed to be especially made
 23    or especially adapted for use in an infringement of the ’741 patent.
 24          44.    Upon further information and belief, such components are used by
 25    ResMed in connection with the refurbishing, servicing and/or use of infringing
 26    Swift LT masks in the United States, thereby constituting direct infringement of
 27    the asserted claims of the ’741 patent.
 28    ///
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    1            45.   Upon information and belief, ResMed’s infringement of the ’741
    2   patent has been, and continues to be, willful, deliberate, and intentional by
    3   continuing its acts of infringement after becoming aware of the ’741 patent and
    4   its infringement thereof, thus acting in reckless disregard of Fisher & Paykel
    5   Healthcare’s patent rights.
    6            46.   As a consequence of ResMed’s infringement of the ’741 patent,
    7   Fisher & Paykel Healthcare has suffered and will continue to suffer irreparable
    8   harm and injury, including monetary damages in an amount to be determined at
    9   trial.
  10             47.   Upon information and belief, unless enjoined, ResMed, and/or
  11    others acting on behalf of ResMed, will continue their infringing acts, thereby
  12    causing additional irreparable injury to Fisher & Paykel Healthcare for which
  13    there is no adequate remedy at law.
  14                             THIRD CLAIM FOR RELIEF
  15                       (Infringement of U.S. Patent No. 8,186,345)
  16             48.   Fisher & Paykel Healthcare realleges and reincorporates the
  17    allegations set forth in paragraphs 1 through 47.
  18             49.   Upon information and belief, ResMed products, including at least
  19    the S10 CPAP, AirCurve 10, and ClimateLineAir products, infringe at least
  20    Claims 1 and 3 of the ’345 patent under 35 U.S.C. § 271(a), (b), or (c).
  21             50.   Upon information and belief, ResMed has directly infringed the
  22    asserted claims of the ’345 patent through manufacture use, sale, offer for sale,
  23    and/or importation into the United States of the S10 CPAP, AirCurve 10, and
  24    ClimateLineAir products.
  25             51.   For example, upon information and belief, the AirSense 10 with
  26    ClimateLine Air tubing includes all of the limitations of Claim 1 of the ‘345
  27    patent. Upon information and belief, the AirSense 10 with Climate Line Air
  28    tubing is an apparatus for supplying gases to a patient. It includes a gases
                                              -9-                            COMPLAINT
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    1   supply and a tube with a heater wire for heating the conduit. The heater wire is
    2   located around the outside of the tube. The circuitry of the ClimateLine Air
    3   tube includes a thermistor, which has a characteristic impedance. The user
    4   manual for the AirSense 10 indicates that this device has a controller for
    5   controlling the heating of the heater wire. The controller can automatically
    6   identify the conduit attached by using the resistance from the thermistor at room
    7   temperature to determine the type of delivery conduit attached.
    8         52.   ResMed is aware of the ’345 patent, at least in part through written
    9   communications from Fisher & Paykel Healthcare on or about February 22,
  10    2016 notifying ResMed of its infringement of this patent.
  11          53.   Upon information and belief, ResMed has actively induced others
  12    to infringe the ’345 patent.     ResMed’s acts constitute infringement of the
  13    ’345 patent in violation of 35 U.S.C. § 271(b).
  14          54.    Upon information and belief, ResMed actively induces health-care
  15    service providers and users to directly infringe the asserted claims of the ’345
  16    patent. By way of example only, upon information and belief, ResMed actively
  17    induces direct infringement of the ’345 patent by providing directions,
  18    demonstrations, guides, manuals, training for use, and/or other materials
  19    necessary for the use, refurbishing, and/or servicing of          the S10 CPAP,
  20    AirCurve 10, and ClimateLineAir products.
  21          55.   Upon information and belief, ResMed knew or should have known
  22    that these activities would cause direct infringement.
  23          56.   Upon information and belief, ResMed’s acts constitute contributory
  24    infringement of the ’345 patent in violation of 35 U.S.C. § 271(c). Upon
  25    information and belief, ResMed contributorily infringes because, among other
  26    things, ResMed offers to sell and/or sells within the United States, and/or
  27    imports into the United States, components of the S10 CPAP, AirCurve 10, and
  28    ClimateLineAir products that constitute material parts of the invention of the
                                            - 10 -                           COMPLAINT
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    1   asserted claims of the ’345 patent, are not staple articles or commodities of
    2   commerce suitable for substantial non-infringing use, and are known by
    3   ResMed to be especially made or especially adapted for use in an infringement
    4   of the ’345 patent.
    5         57.    Upon further information and belief, such components are used by
    6   ResMed in connection with the refurbishing, servicing and/or use of infringing
    7   S10 CPAP, AirCurve 10, and ClimateLineAir products in the United States,
    8   thereby constituting direct infringement of the asserted claims of the ’345
    9   patent.
  10          58.    Upon information and belief, ResMed’s infringement of the ’345
  11    patent has been, and continues to be, willful, deliberate, and intentional by
  12    continuing its acts of infringement after becoming aware of the ’345 patent and
  13    its infringement thereof, thus acting in reckless disregard of Fisher & Paykel
  14    Healthcare’s patent rights.
  15          59.    As a consequence of ResMed’s patent infringement of the ’345
  16    patent, Fisher & Paykel Healthcare has suffered and will continue to suffer
  17    irreparable harm and injury, including monetary damages in an amount to be
  18    determined at trial.
  19          60.    Upon information and belief, unless enjoined, ResMed, and/or
  20    others acting on behalf of ResMed, will continue their infringing acts, thereby
  21    causing additional irreparable injury to Fisher & Paykel Healthcare for which
  22    there is no adequate remedy at law.
  23                           FOURTH CLAIM FOR RELIEF
  24                      (Infringement of U.S. Patent No. 8,453,641)
  25          61.    Fisher & Paykel Healthcare realleges and reincorporates the
  26    allegations set forth in paragraphs 1 through 60.
  27    ///
  28    ///
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    1          62.   Upon information and belief, ResMed products, including at least
    2   the S10 CPAP, AirCurve 10, and ClimateLineAir products, infringe at least
    3   Claims 1 5, and 6 of the ’641 patent under 35 U.S.C. § 271(a), (b), or (c).
    4          63.   Upon information and belief, ResMed has directly infringed the
    5   asserted claims of the ’641 patent through manufacture use, sale, offer for sale,
    6   and/or importation into the United States of the S10 CPAP, AirCurve 10, and
    7   ClimateLineAir products.
    8          64.   For example, upon information and belief, the AirSense 10 with
    9   ClimateLine Air tubing includes all of the limitations of Claim 1 of the ‘641
  10    patent. The AirSense 10 is an apparatus for measuring the properties of gases
  11    being supplied to a patient. It includes a gases supply and a tube that includes a
  12    heater wire for heating the tube. The heater wire is located around the outside
  13    of the tube. The tube has two ends, and the heater wire extends longitudinally
  14    along the tube from the first end to the second end of the tube. The heater wire
  15    forms part of the circuit of the AirSense 10 device and is measured by a
  16    controller to determine properties of the gases, including temperature and/or
  17    relative humidity. The electrical circuit has two portions, one that is located
  18    near the first end of the tube and the other that is located near the second end of
  19    the tube.     The two portions of the electrical circuit are in electrical
  20    communication with each other through a thermistor that is electrically
  21    connected to the contacts at the gases supply end of the electrical circuit. The
  22    change in current from the thermistor is used to determine temperature of the
  23    gases as it varies.
  24           65.   ResMed is aware of the ’641 patent, at least in part through written
  25    communications from Fisher & Paykel Healthcare on or about February 22,
  26    2016 notifying ResMed of its infringement of this patent.
  27    ///
  28    ///
                                            - 12 -                            COMPLAINT
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    1         66.    Upon information and belief, ResMed has actively induced others
    2   to infringe the ’641 patent.     ResMed’s acts constitute infringement of the
    3   ’641 patent in violation of 35 U.S.C. § 271(b).
    4         67.    Upon information and belief, ResMed actively induces health-care
    5   service providers and users to directly infringe the asserted claims of the ’641
    6   patent. By way of example only, upon information and belief, ResMed actively
    7   induces direct infringement of the ’641 patent by providing directions,
    8   demonstrations, guides, manuals, training for use, and/or other materials
    9   necessary for the use, refurbishing, and/or servicing of       the S10 CPAP,
  10    AirCurve 10, and ClimateLineAir products.
  11          68.    Upon information and belief, ResMed knew or should have known
  12    that these activities would cause direct infringement.
  13          69.    Upon information and belief, ResMed’s acts constitute contributory
  14    infringement of the ’641 patent in violation of 35 U.S.C. § 271(c). Upon
  15    information and belief, ResMed contributorily infringes because, among other
  16    things, ResMed offers to sell and/or sells within the United States, and/or
  17    imports into the United States, components of the S10 CPAP, AirCurve 10, and
  18    ClimateLineAir products that constitute material parts of the invention of the
  19    asserted claims of the ’641 patent, are not staple articles or commodities of
  20    commerce suitable for substantial non-infringing use, and are known by
  21    ResMed to be especially made or especially adapted for use in an infringement
  22    of the ’641 patent.
  23          70.    Upon further information and belief, such components are used by
  24    ResMed in connection with the refurbishing, servicing and/or use of infringing
  25    S10 CPAP, AirCurve 10, and ClimateLineAir products in the United States,
  26    thereby constituting direct infringement of the asserted claims of the ’641
  27    patent.
  28    ///
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    1         71.    Upon information and belief, ResMed’s infringement of the ’641
    2   patent has been, and continues to be, willful, deliberate, and intentional by
    3   continuing its acts of infringement after becoming aware of the ’641 patent and
    4   its infringement thereof, thus acting in reckless disregard of Fisher & Paykel
    5   Healthcare’s patent rights.
    6         72.    As a consequence of ResMed’s patent infringement of the ’641
    7   patent, Fisher & Paykel Healthcare has suffered and will continue to suffer
    8   irreparable harm and injury, including monetary damages in an amount to be
    9   determined at trial.
  10          73.    Upon information and belief, unless enjoined, ResMed, and/or
  11    others acting on behalf of ResMed, will continue their infringing acts, thereby
  12    causing additional irreparable injury to Fisher & Paykel Healthcare for which
  13    there is no adequate remedy at law.
  14                            FIFTH CLAIM FOR RELIEF
  15                      (Infringement of U.S. Patent No. 9,265,902)
  16          74.    Fisher & Paykel Healthcare realleges and reincorporates the
  17    allegations set forth in paragraphs 1 through 73.
  18          75.    Upon information and belief, ResMed products, including at least
  19    the S10 CPAP, AirCurve 10, and ClimateLineAir products, infringe at least
  20    Claims 7, 11, and 12of the ’902 patent under 35 U.S.C. § 271(a), (b), or (c).
  21          76.    Upon information and belief, ResMed has directly infringed the
  22    asserted claims of the ’902 patent through manufacture use, sale, offer for sale,
  23    and/or importation into the United States of the S10 CPAP, AirCurve 10, and
  24    ClimateLineAir products.
  25          77.    For example, upon information and belief, the AirSense 10 with
  26    ClimateLine Air includes all of the limitations of Claim 7 of the ’902 patent.
  27    The AirSense 10 is configured to supply a stream of gases to a patient. It
  28    includes a gases supply, a tube configured to connect to the gases supply and to
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    1   deliver the stream of gases to the patient, and a heater wire extending through a
    2   length of the tube.    An electrical circuit connected to the wire includes a
    3   thermistor, and current flows through the thermistor and wire to a controller.
    4   Based on the current, the controller can determine at least the temperature of the
    5   gases and can adjust for patient comfort or therapeutic setting. The thermistor is
    6   positioned within the stream of gases. An overmolding encloses part of the
    7   electrical circuit and extends into the middle of the tube.
    8         78.    ResMed is aware of the ’902 patent, at least in part through written
    9   communications from Fisher & Paykel Healthcare on or about February 22,
  10    2016 notifying ResMed of its infringement of this patent.
  11          79.    Upon information and belief, ResMed has actively induced others
  12    to infringe the ’902 patent.     ResMed’s acts constitute infringement of the
  13    ’902 patent in violation of 35 U.S.C. § 271(b).
  14          80.    Upon information and belief, ResMed actively induces health-care
  15    service providers and users to directly infringe the asserted claims of the ’902
  16    patent. By way of example only, upon information and belief, ResMed actively
  17    induces direct infringement of the ’902 patent by providing directions,
  18    demonstrations, guides, manuals, training for use, and/or other materials
  19    necessary for the use, refurbishing, and/or servicing of        the S10 CPAP,
  20    AirCurve 10, and ClimateLineAir products.
  21          81.    Upon information and belief, ResMed knew or should have known
  22    that these activities would cause direct infringement.
  23          82.    Upon information and belief, ResMed’s acts constitute contributory
  24    infringement of the ’902 patent in violation of 35 U.S.C. § 271(c). Upon
  25    information and belief, ResMed contributorily infringes because, among other
  26    things, ResMed offers to sell and/or sells within the United States, and/or
  27    imports into the United States, components of the S S10 CPAP, AirCurve 10,
  28    and ClimateLineAir products that constitute material parts of the invention of
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    1   the asserted claims of the ’902 patent, are not staple articles or commodities of
    2   commerce suitable for substantial non-infringing use, and are known by
    3   ResMed to be especially made or especially adapted for use in an infringement
    4   of the ’902 patent.
    5         83.    Upon further information and belief, such components are used by
    6   ResMed in connection with the refurbishing, servicing and/or use of infringing
    7   S10 CPAP, AirCurve 10, and ClimateLineAir products in the United States,
    8   thereby constituting direct infringement of the asserted claims of the ’902
    9   patent.
  10          84.    Upon information and belief, ResMed’s infringement of the ’902
  11    patent has been, and continues to be, willful, deliberate, and intentional by
  12    continuing its acts of infringement after becoming aware of the ’902 patent and
  13    its infringement thereof, thus acting in reckless disregard of Fisher & Paykel
  14    Healthcare’s patent rights.
  15          85.    As a consequence of ResMed’s patent infringement of the ’902
  16    patent, Fisher & Paykel Healthcare has suffered and will continue to suffer
  17    irreparable harm and injury, including monetary damages in an amount to be
  18    determined at trial.
  19          86.    Upon information and belief, unless enjoined, ResMed, and/or
  20    others acting on behalf of ResMed, will continue their infringing acts, thereby
  21    causing additional irreparable injury to Fisher & Paykel Healthcare for which
  22    there is no adequate remedy at law.
  23                            SIXTH CLAIM FOR RELIEF
  24                      (Infringement of U.S. Patent No. 8,550,072)
  25          87.    Fisher & Paykel Healthcare realleges and reincorporates the
  26    allegations set forth in paragraphs 1 through 86.
  27    ///
  28    ///
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    1         88.      Upon information and belief, ResMed products, including at least
    2   the S10 CPAP and AirCurve 10 products, infringe at least Claims 6, 12, and 13
    3   of the ’072 patent under 35 U.S.C. § 271(a), (b), or (c).
    4         89.      Upon information and belief, ResMed has directly infringed the
    5   asserted claims of the ’072 patent through the manufacture, use, sale, offer for
    6   sale, and/or importation into the United States of the S10 CPAP and AirCurve
    7   10 products.
    8         90.      For example, upon information and belief, the AirSense 10 includes
    9   all of the limitations of Claim 6 of the ‘072 patent. The AirSense 10 is an
  10    apparatus for use in humidified gases delivery treatment. It includes a blower
  11    for generating a supply of pressurised gases. It includes a pressurised gases
  12    outlet in fluid connection with the pressurised gases supply and adapted to make
  13    a separate fluid connection with an inlet of a water chamber to provide gases
  14    flow to the chamber. It includes a humidified gases return adapted to make a
  15    separate fluid connection with an outlet of the water chamber in order to receive
  16    humidified gases from the water chamber, and it is adjacent to and aligned with
  17    the pressurised gases outlet. These two fluid connections are made by a single
  18    motion. The AirSense 10 also includes a patient outlet in fluid connection with
  19    the humidified gases return to receive humidified gases from the humidified
  20    gases return and to provide humidified gases to the patient outlet. This patient
  21    outlet is in fluid connection with or adapted to make fluid connection with a
  22    breathing conduct for delivery of humidified gases to a patient.
  23          91.      ResMed is aware of the ’072 patent, at least in part through written
  24    communications from Fisher & Paykel Healthcare on or about October 1, 2015
  25    notifying ResMed of its infringement of this patent.
  26          92.      Upon information and belief, ResMed has actively induced others
  27    to infringe the ’072 patent.      ResMed’s acts constitute infringement of the
  28    ’072 patent in violation of 35 U.S.C. § 271(b).
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    1         93.      Upon information and belief, ResMed actively induces health-care
    2   service providers and users to directly infringe the asserted claims of the
    3   ’072 patent. By way of example only, upon information and belief, ResMed
    4   actively induces direct infringement of the ’072 patent by providing directions,
    5   demonstrations, guides, manuals, training for use, and/or other materials
    6   necessary for the use, refurbishing, and/or servicing of S10 CPAP and AirCurve
    7   10 products.
    8         94.      Upon information and belief, ResMed knew or should have known
    9   that these activities would cause direct infringement.
  10          95.      Upon information and belief, ResMed’s acts constitute contributory
  11    infringement of the ’072 patent in violation of 35 U.S.C. § 271(c). Upon
  12    information and belief, ResMed contributorily infringes because, among other
  13    things, ResMed offers to sell and/or sells within the United States, and/or
  14    imports into the United States, components of S10 CPAP and AirCurve 10
  15    products that constitute material parts of the invention of the asserted claims of
  16    the ’072 patent, are not staple articles or commodities of commerce suitable for
  17    substantial non-infringing use, and are known by ResMed to be especially made
  18    or especially adapted for use in an infringement of the ’072 patent.
  19          96.      Upon further information and belief, such components are used by
  20    ResMed in connection with the refurbishing, servicing and/or use of infringing
  21    S10 CPAP and AirCurve 10 products in the United States, thereby constituting
  22    direct infringement of the asserted claims of the ’072 patent.
  23          97.      Upon information and belief, ResMed’s infringement of the ’072
  24    patent has been, and continues to be, willful, deliberate, and intentional by
  25    continuing its acts of infringement after becoming aware of the ’072 patent and
  26    its infringement thereof, thus acting in reckless disregard of Fisher & Paykel
  27    Healthcare’s patent rights.
  28    ///
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    1         98.      As a consequence of ResMed’s patent infringement of the ’072
    2   patent, Fisher & Paykel Healthcare has suffered and will continue to suffer
    3   irreparable harm and injury, including monetary damages in an amount to be
    4   determined at trial.
    5         99.      Upon information and belief, unless enjoined, ResMed, and/or
    6   others acting on behalf of ResMed, will continue their infringing acts, thereby
    7   causing additional irreparable injury to Fisher & Paykel Healthcare for which
    8   there is no adequate remedy at law.
    9                          SEVENTH CLAIM FOR RELIEF
  10                       (Infringement of U.S. Patent No. 8,091,547)
  11          100. Fisher & Paykel Healthcare realleges and reincorporates the
  12    allegations set forth in paragraphs 1 through 99.
  13          101. Upon information and belief, ResMed products, including at least
  14    the S10 CPAP and AirCurve 10 products, infringe at least Claims 24 and 25 of
  15    the ’547 patent under 35 U.S.C. § 271(a), (b), or (c).
  16          102. Upon information and belief, ResMed has directly infringed the
  17    asserted claims of the ’547 patent through the manufacture, use, sale, offer for
  18    sale, and/or importation into the United States of the S10 CPAP and AirCurve
  19    10 products.
  20          103. For example, upon information and belief, the AirSense 10 includes
  21    all of the limitations of Claim 24 of the ‘547 patent. The AirSense 10 is a gas
  22    humidification apparatus. It includes a humidification chamber with a base. It
  23    has a housing with a source gases outlet adapted to make a separable fluid
  24    connection with an inlet of the humidification chamber in order to provide gases
  25    flow into the humidification chamber. The housing also has a humidified gases
  26    inlet adapted to make a separable fluid connection with an outlet of the
  27    humidification chamber in order to receive humidified gases from the
  28    humidification chamber. The humidified gases outlet is in fluid communication
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    1   with the humidified gases inlet and is adapted to make fluid connection with a
    2   breathing conduit for delivery of humidified gases to a patient. The housing
    3   also includes a heater configured to vaporize liquid water in the humidification
    4   chamber to provide water vapor to gases flowing through the humidification
    5   chamber. The housing is adapted to accommodate the humidification chamber,
    6   which is removable and engageable with the housing via a single motion. The
    7   single motion of engagement disposes the base of the humidification chamber
    8   adjacent the heater. The single motion also makes or breaks the separable
    9   connection between the source gases outlet and the humidification chamber inlet
  10    and the separable connection between the humidified gases inlet and the
  11    humidification chamber outlet.
  12          104. ResMed is aware of the ’547 patent, at least in part through written
  13    communications from Fisher & Paykel Healthcare on or about October 1, 2015
  14    notifying ResMed of its infringement of this patent.
  15          105. Upon information and belief, ResMed has actively induced others
  16    to infringe the ’547 patent.     ResMed’s acts constitute infringement of the
  17    ’547 patent in violation of 35 U.S.C. § 271(b).
  18          106. Upon information and belief, ResMed actively induces health-care
  19    service providers and users to directly infringe the asserted claims of the
  20    ’547 patent. By way of example only, upon information and belief, ResMed
  21    actively induces direct infringement of the ’547 patent by providing directions,
  22    demonstrations, guides, manuals, training for use, and/or other materials
  23    necessary for the use, refurbishing, and/or servicing of S10 CPAP and AirCurve
  24    10 products.
  25          107. Upon information and belief, ResMed knew or should have known
  26    that these activities would cause direct infringement.
  27          108. Upon information and belief, ResMed’s acts constitute contributory
  28    infringement of the ’547 patent in violation of 35 U.S.C. § 271(c). Upon
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    1   information and belief, ResMed contributorily infringes because, among other
    2   things, ResMed offers to sell and/or sells within the United States, and/or
    3   imports into the United States, components of S10 CPAP and AirCurve 10
    4   products that constitute material parts of the invention of the asserted claims of
    5   the ’547 patent, are not staple articles or commodities of commerce suitable for
    6   substantial non-infringing use, and are known by ResMed to be especially made
    7   or especially adapted for use in an infringement of the ’547 patent.
    8         109. Upon further information and belief, such components are used by
    9   ResMed in connection with the refurbishing, servicing and/or use of infringing
  10    S10 CPAP and AirCurve 10 products in the United States, thereby constituting
  11    direct infringement of the asserted claims of the ’547 patent.
  12          110. Upon information and belief, ResMed’s infringement of the
  13    ’547 patent has been, and continues to be, willful, deliberate, and intentional by
  14    continuing its acts of infringement after becoming aware of the ’547 patent and
  15    its infringement thereof, thus acting in reckless disregard of Fisher & Paykel
  16    Healthcare’s patent rights.
  17          111. As a consequence of ResMed’s patent infringement of the
  18    ’547 patent, Fisher & Paykel Healthcare has suffered and will continue to suffer
  19    irreparable harm and injury, including monetary damages in an amount to be
  20    determined at trial.
  21          112. Upon information and belief, unless enjoined, ResMed, and/or
  22    others acting on behalf of ResMed, will continue their infringing acts, thereby
  23    causing additional irreparable injury to Fisher & Paykel Healthcare for which
  24    there is no adequate remedy at law.
  25                           EIGHTH CLAIM FOR RELIEF
  26                      (Infringement of U.S. Patent No. 7,111,624)
  27          113. Fisher & Paykel Healthcare realleges and reincorporates the
  28    allegations set forth in paragraphs 1 through 112.
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    1         114. Upon information and belief, ResMed products, including at least
    2   the S10 CPAP and AirCurve 10 products, infringe at least Claims 1-3 and 7 of
    3   the ’624 patent under 35 U.S.C. § 271(a), (b), or (c).
    4         115. Upon information and belief, ResMed has directly infringed the
    5   asserted claims of the ’624 patent through the manufacture, use, sale, offer for
    6   sale, and/or importation into the United States of the S10 CPAP and AirCurve
    7   10 products.
    8         116. ResMed is aware of the ’624 patent, at least in part through written
    9   communications from Fisher & Paykel Healthcare on or about October 1, 2015
  10    notifying ResMed of its infringement of this patent.
  11          117. For example, upon information and belief, the AirSense 10 includes
  12    all of the limitations of Claim 1 of the ‘624 patent. The AirSense 10 is an
  13    apparatus for use in humidified gases delivery treatment. It has a housing that
  14    has a pressurised gases supply within it. A pressurised gases outlet in the
  15    housing is in fluid connection with the pressurised gases supply and is adapted
  16    to make fluid connection with an inlet of a humidifier in order to provide gases
  17    flow to the humidifier. A humidified gases return in the housing is adapted to
  18    make fluid connection with an outlet of the humidifier in order to receive
  19    humidified gases from the humidifier. A patient outlet in the housing is in fluid
  20    connection with the humidified gases return in order to receive humidified gases
  21    and to provide humidified gases to the patient outlet. The patient outlet is in
  22    fluid communication with or adapted to make fluid connection with a breathing
  23    conduit for delivery of humidified gases to a patient.
  24          118. Upon information and belief, ResMed has actively induced others
  25    to infringe the ’624 patent.     ResMed’s acts constitute infringement of the
  26    ’624 patent in violation of 35 U.S.C. § 271(b).
  27          119. Upon information and belief, ResMed actively induces health-care
  28    service providers and users to directly infringe the asserted claims of the
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    1   ’624 patent. By way of example only, upon information and belief, ResMed
    2   actively induces direct infringement of the ’624 patent by providing directions,
    3   demonstrations, guides, manuals, training for use, and/or other materials
    4   necessary for the use, refurbishing, and/or servicing of S10 CPAP and AirCurve
    5   10 products.
    6         120. Upon information and belief, ResMed knew or should have known
    7   that these activities would cause direct infringement.
    8         121. Upon information and belief, ResMed’s acts constitute contributory
    9   infringement of the ’624 patent in violation of 35 U.S.C. § 271(c). Upon
  10    information and belief, ResMed contributorily infringes because, among other
  11    things, ResMed offers to sell and/or sells within the United States, and/or
  12    imports into the United States, components of S10 CPAP and AirCurve 10
  13    products that constitute material parts of the invention of the asserted claims of
  14    the ’624 patent, are not staple articles or commodities of commerce suitable for
  15    substantial non-infringing use, and are known by ResMed to be especially made
  16    or especially adapted for use in an infringement of the ’624 patent.
  17          122. Upon further information and belief, such components are used by
  18    ResMed in connection with the refurbishing, servicing and/or use of infringing
  19    S10 CPAP and AirCurve 10 products in the United States, thereby constituting
  20    direct infringement of the asserted claims of the ’624 patent.
  21          123. Upon information and belief, ResMed’s infringement of the
  22    ’624 patent has been, and continues to be, willful, deliberate, and intentional by
  23    continuing its acts of infringement after becoming aware of the ’624 patent and
  24    its infringement thereof, thus acting in reckless disregard of Fisher & Paykel
  25    Healthcare’s patent rights.
  26          124. As a consequence of ResMed’s patent infringement of the
  27    ’624 patent, Fisher & Paykel Healthcare has suffered and will continue to suffer
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    1   irreparable harm and injury, including monetary damages in an amount to be
    2   determined at trial.
    3         125. Upon information and belief, unless enjoined, ResMed, and/or
    4   others acting on behalf of ResMed, will continue their infringing acts, thereby
    5   causing additional irreparable injury to Fisher & Paykel Healthcare for which
    6   there is no adequate remedy at law.
    7                           NINTH CLAIM FOR RELIEF
    8                     (Infringement of U.S. Patent No. 6,398,197)
    9         126. Fisher & Paykel Healthcare realleges and reincorporates the
  10    allegations set forth in paragraphs 1 through 125.
  11          127. Upon information and belief, ResMed products, including at least
  12    the S10 CPAP and AirCurve 10 products, infringe at least Claim 1 of the
  13    ’197 patent under 35 U.S.C. § 271(a), (b), or (c).
  14          128. Upon information and belief, ResMed has directly infringed the
  15    asserted claims of the ’197 patent through the manufacture, use, sale, offer for
  16    sale, and/or importation into the United States of the S10 CPAP and AirCurve
  17    10 products.
  18          129. For example, upon information and belief, the AirSense 10 includes
  19    all of the limitations of Claim 1 of the ‘197 patent. It includes a water chamber
  20    adapted for use in conjunction with a heater base. The water chamber has a
  21    horizontally oriented gases inlet in a wall. There is an elongate flow tube
  22    extending into the water chamber from the inner periphery of the gases inlet,
  23    and an inlet end of the elongate flow tube covering the inlet. An outlet end of
  24    the elongate flow tube is spaced from the wall of the water chamber. In use, the
  25    elongate flow tube receives at the inlet end gases supplied to the gases inlet.
  26    The gases pass through the elongate flow tube and exit the flow tube at the
  27    outlet end distant from the wall.
  28    ///
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    1         130. ResMed is aware of the ’197 patent, at least in part through written
    2   communications from Fisher & Paykel Healthcare on or about October 1, 2015
    3   notifying ResMed of its infringement of this patent.
    4         131. Upon information and belief, ResMed has actively induced others
    5   to infringe the ’197 patent.     ResMed’s acts constitute infringement of the
    6   ’197 patent in violation of 35 U.S.C. § 271(b).
    7         132. Upon information and belief, ResMed actively induces health-care
    8   service providers and users to directly infringe the asserted claims of the
    9   ’197 patent. By way of example only, upon information and belief, ResMed
  10    actively induces direct infringement of the ’197 patent by providing directions,
  11    demonstrations, guides, manuals, training for use, and/or other materials
  12    necessary for the use, refurbishing, and/or servicing of S10 CPAP and AirCurve
  13    10 products.
  14          133. Upon information and belief, ResMed knew or should have known
  15    that these activities would cause direct infringement.
  16          134. Upon information and belief, ResMed’s acts constitute contributory
  17    infringement of the ’197 patent in violation of 35 U.S.C. § 271(c). Upon
  18    information and belief, ResMed contributorily infringes because, among other
  19    things, ResMed offers to sell and/or sells within the United States, and/or
  20    imports into the United States, components of S10 CPAP and AirCurve 10
  21    products that constitute material parts of the invention of the asserted claims of
  22    the ’197 patent, are not staple articles or commodities of commerce suitable for
  23    substantial non-infringing use, and are known by ResMed to be especially made
  24    or especially adapted for use in an infringement of the ’197 patent.
  25          135. Upon further information and belief, such components are used by
  26    ResMed in connection with the refurbishing, servicing and/or use of infringing
  27    S10 CPAP and AirCurve 10 products in the United States, thereby constituting
  28    direct infringement of the asserted claims of the ’197 patent.
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    1         136. Upon information and belief, ResMed’s infringement of the
    2   ’197 patent has been, and continues to be, willful, deliberate, and intentional by
    3   continuing its acts of infringement after becoming aware of the ’197 patent and
    4   its infringement thereof, thus acting in reckless disregard of Fisher & Paykel
    5   Healthcare’s patent rights.
    6         137. As a consequence of ResMed’s patent infringement of the
    7   ’197 patent, Fisher & Paykel Healthcare has suffered and will continue to suffer
    8   irreparable harm and injury, including monetary damages in an amount to be
    9   determined at trial.
  10          138. Upon information and belief, unless enjoined, ResMed, and/or
  11    others acting on behalf of ResMed, will continue their infringing acts, thereby
  12    causing additional irreparable injury to Fisher & Paykel Healthcare for which
  13    there is no adequate remedy at law.
  14                             VI. PRAYER FOR RELIEF
  15          1.     WHEREFORE, Plaintiff Fisher & Paykel Healthcare prays for
  16    judgment and seeks relief as follows:
  17          (1)    Pursuant to 35 U.S.C. § 271, a determination that ResMed and its
  18    officers, agents, servants, employees, attorneys and all others in active concert
  19    and/or participation with them have infringed each of the ’807, ’741, ’345, ’641,
  20    ’902, ’072, ’547, ’624, and ’197 patents through the manufacture, use,
  21    importation, offer for sale, and/or sale of infringing products and/or any of the
  22    other acts prohibited by 35 U.S.C. § 271;
  23          (2)    Pursuant to 35 U.S.C. § 283, an injunction enjoining ResMed and
  24    its officers, agents, servants, employees, attorneys and all others in active
  25    concert and/or participation with them from infringing the ’807, ’741, ’345,
  26    ’641, ’902, ’072, ’547, ’624, and ’197 patents through the manufacture, use,
  27    importation, offer for sale, and/or sale of infringing products and/or any of the
  28
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    1   other acts prohibited by 35 U.S.C. § 271, including preliminary and permanent
    2   injunctive relief;
    3         (3)    Pursuant to 35 U.S.C. § 284, an award of compensating Fisher &
    4   Paykel Healthcare for ResMed’s infringement of the ’807, ’741, ’345, ’641,
    5   ’902, ’072, ’547, ’624, and ’197 patents through payment of not less than a
    6   reasonable royalty on ResMed’s sales of infringing products;
    7         (4)    Pursuant to 35 U.S.C. § 284, an award increasing damages up to
    8   three times the amount found or assessed by the jury for ResMed’s infringement
    9   of each of the ’807, ’741, ’345, ’641, ’902, ’072, ’547, ’624, and ’197 patents in
  10    view of the willful and deliberate nature of the infringement;
  11          (5)    Pursuant to 35 U.S.C. § 285, a finding that this is an exceptional
  12    case, and an award of reasonable attorney’s fees and non-taxable costs;
  13          (6)    An assessment of prejudgment and post-judgment interest and
  14    costs against ResMed, together with an award of such interest and costs,
  15    pursuant to 35 U.S.C. § 284;
  16          (7)    An award of taxable costs; and
  17          (8)    That Fisher & Paykel Healthcare be granted such other and further
  18    relief as the Court deems equitable and just in the circumstances.
  19                                   Respectfully submitted,
  20                                   KNOBBE, MARTENS, OLSON & BEAR, LLP
  21
  22    Dated: August 16, 2016         By: /s/ Sheila N. Swaroop
                                           Stephen C. Jensen
  23                                       Steve.jensen@knobbe.com
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  27                                   FISHER & PAYKEL HEALTHCARE LIMITED

  28
                                            - 27 -                           COMPLAINT
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    1                               DEMAND FOR JURY TRIAL
    2              Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff
    3   Fisher & Paykel Healthcare Limited demands a trial by jury of all issues raised
    4   by the pleadings which are triable by jury.
    5
    6   Dated: August 16, 2016            By: /s/ Sheila N. Swaroop
                                              Stephen C. Jensen
    7                                         Steve.jensen@knobbe.com
                                              Joseph F. Jennings
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  11                                       FISHER & PAYKEL HEALTHCARE LIMITED

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                                               - 28 -                          COMPLAINT
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